                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 1:09-CR-81
                                              )
DEBORAH LEWIS                                 )       MATTICE/CARTER




                             REPORT AND RECOMMENDATION


        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on August 31,

2009. At the hearing, defendant entered a plea of guilty to Count One of the Indictment, the

lesser included offense of conspiracy to manufacture, distribute, and possess with the intent to

distribute fifty (50) grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

841(a)(1) and (b)(1)(B), in exchange for the undertakings made by the government in the written

plea agreement. On the basis of the record made at the hearing, I find that the defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a

sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One of the Indictment, the



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lesser included offense of conspiracy to manufacture, distribute, and possess with the intent to

distribute fifty (50) grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

841(a)(1) and (b)(1)(B) be accepted, that the Court adjudicate defendant guilty of the charges set

forth in Count One of the Indictment, the lesser included offense of conspiracy to manufacture,

distribute, and possess with the intent to distribute fifty (50) grams or more of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), and the written plea

agreement be accepted at the time of sentencing. I further recommend that defendant be taken

into custody pending sentencing in this matter. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the

district judge.

        The defendant’s sentencing date is scheduled for Monday, November 30, 2009, at 9:00

am.



        Dated: August 31, 2009                        s/William B. Mitchell Carter
                                                      UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten days after the plea
hearing. Failure to file objections within ten days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).

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